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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERICA,                                     :



                 -against-                                    :    (S2) 17 Cr. 421 (RA)



ADAM RAISHANI,                                                :

                          Defendant.                          :

---------------------------------------------------------------x




                          SENTENCING MEMORANDUM ON
                       BEHALF OF DEFENDANT ADAM RAISHANI




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                              PRELIMINARY STATEMENT

        Defendant Adam Raishani (“defendant”) stands before this Court for sentencing, having

pled guilty to a two count information charging him with Attempted Provision of Material

Support to a Foreign Terrorist Organization (“FTO”)(18 U.S.C. § 2339B) and Conspiracy to

Provide Material Support to a FTO (18 U.S.C. § 371). This Court is charged with imposing a

sentence that is “sufficient, but not greater than necessary, to fulfill the purposes of sentencing.”

See United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008), cert. denied, 556 U.S. 1268

(2009) (quoting 18 U.S.C. § 3553(a)). For the reasons set forth more fully herein, we

respectfully submit that the Court should impose a sentence of imprisonment of no more than

five years.


                                STATEMENT OF FACTS

A. Personal Background

        Adam Raishani was born 32 years ago in Ibb, Yemen to Mohammed Raishani and

Mahlyah Asaidi. (PSR: 43). His birth name was Saddam Mohammed Raishani, but he legally

changed it to Adam Raishani some years ago. Defendant was initially raised in Yemen but, in

the early 1990s, he immigrated to the United States with his parents. As such, he is a “derived”

United States citizen. (PSR: 46). The defendant’s father is 74 years old and a retired grocery

store cashier. Defendant’s mother is 64 years old, a homemaker, and lives with her husband in

a first floor apartment at 1948 Gleason Avenue in the Bronx. (PSR: 43). When Raishani was

arrested in June, 2017, he was living with his wife and son in an apartment on an upper floor at

1948 Gleason Avenue. (PSR: 51).
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       Mr. Raishani is one of two surviving children born to both of his parents. His older

brother, Majid A. Raishani, is 37 years old, employed as a grocery store cashier, and lives at

1954 Gleason Avenue in the Bronx. (PSR: 44). Defendant reports that his brother Majid is

addicted to prescription medications and that the family is attempting to get treatment services

for him. (PSR: 47). Defendant has four paternal half-siblings, all in their 40s or early 50s. Two

currently reside in the United States and two live in Yemen, although one will be returning soon

to the United States following his daughter’s wedding. (PSR: 45).

       Defendant, who is close to his parents, described his childhood as “Blessed, grateful and

playful”. He recalled that his father worked long hours to provide for his family and that his

mother remained at home to care for the children. Both parents remain supportive of Mr.

Raishani and visit him weekly in jail. (PSR: 47).

       As he grew up in New York, Raishani recalled that he and his family on occasion

traveled to Yemen to visit relatives, and stayed there for extended periods of time. He heard or

saw jets flying through the sky regularly and heard missile attacks. Having experienced Yemen

during times of war, he described it as “scary”. After completing high school in 2005, defendant

lived with relatives in Yemen for seven or eight months before returning to his parent’s home

in the Bronx. (PSR: 49).

       Adam Raishani married Rawdha Al Samet in Brooklyn, New York on August 24, 2014.

Defendant reported that the marriage was arranged by their parents. Ms. Al Samet is 29 years

old, and has been a homemaker who takes care of her and defendant’s three year old son, Khalid

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Raishani. Notwithstanding that it was an arranged marriage, defendant described his wife as a

“sweet, beautiful and supportive” person and stated that they share a good relationship. (PSR:

50).

       Probation interviewed defendant’s mother (with the assistance of an Arabic interpreter).

She wept throughout the entire interview. She described her son as a loveable and well-behaved

child who had positive interaction with his peers. She did add, however, that when he had issues

with a co-worker, “he then became sad”. She was not aware of her son’s intention to leave the

United States. (PSR: 53).

       Probation also interviewed defendant’s wife (again, with the assistance of an Arabic

interpreter). She described defendant as an “easy-going and kind-hearted person” and added that

her life with him was “happy”. Since his arrest, life was “very hard” for her, though defendant

provided emotional and financial support for her and their son. (PSR: 55).

       Ms. Al Samet said she and defendant had talked about traveling to Yemen for

employment, but that it was a “total shock” when she was informed of his true intentions. When

asked if she knew why her husband had decided to join ISIS, she told Probation:

               ...following harassing incidents at work due to Raishani’s religion, he became
               sad. She reportedly witnessed him crying alone and when asked what was wrong,
               he would not say why he was crying. Ms. Al Samet believes that it may have been
               sometime after losing his job at the hospital, that the defendant began initiating
               a plan to leave the U.S.

(PSR: 55).

       Ms. Al Samet also told Probation that “there are no words to describe the total affect her

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husband’s arrest has had on the entire family. ...[H]is parents cry every day... she and her son also

miss him...the family will be devastated if Raishani remains in custody.” (PSR: 56).

B. Physical, Mental and Emotional Health

        In 2010 or 2011, defendant suffered injuries to his back when he was rear-ended in a car

accident. To this day, a disc in his lower back remains bulged. Raishani underwent numerous

pain treatments, including acupuncture, shock therapy and massage. Additionally, for the last

three or four years, including recently in MCC, he has experienced fungal infections on his feet

which are treated with antifungal medication. Other than that, he currently enjoys good health.

(PSR: 58, 59).

        With regard to mental health, on several occasions while attending college he met with

mental health counselors because of the anxiety that he was experiencing. He was not, however,

prescribed psychotropic medication at any time. (PSR: 60-62).

        Raishani admitted during his Probation interview that, in 2003 or 2004 and in 2009, he

smoked marijuana regularly. He discontinued its use on his own. He last consumed alcohol in

2013, and disclaimed the use of all other illicit substances. (PSR: 63).

C. Education

        Mr. Raishani has always attended school regularly. As a child, he attended English-as-a-

second-language classes and enjoyed his studies and being involved in extra-curriculum

activities such as drama and chorus. However, during his primary school years, he experienced

bullying and was often teased because of his name by fellow students and once by a teacher. He

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felt isolated because of that bullying and teasing. (PSR: 48).

       In June, 2005, defendant graduated from Lehman High School in the Bronx. (PSR: 66).

In January, 2014, Raishani earned an Associate in Applied Science of Nursing degree from

Bronx Community College. (PSR: 65). At BCC, Raishani was on the Dean’s List and the

recipient of Rudin Scholarships. In May, 2016, defendant earned a Bachelor of Science degree

in Nursing from Dominican College in Orangeburg, New York. (PSR: 64). He had a 3.95 Grade

Point Average (out of 4.0) at graduation and received the Nursing Excellence Award.

       The New York State Office of Professions has confirmed that defendant was licensed

as a Registered Professional Nurse on April 3, 2014, which license expires in August 2019.

(PSR: 67).

D. Employment

       Raishani worked as a clerk at the Broadway Deli Grocery in Brooklyn from 2007 through

2013. He left this job to attend college. (PSR: 74). Between 2013 and 2015, defendant was a

student and did not work. (PSR: 73). From April 2015 through January 2016, Raishani worked

as a Staff Nurse at Montefiore Medical Center in the Bronx. He left this employment “after

experiencing negative reactions from co-workers due to his religion (Muslim). ... on one

occasion someone used his prayer mat as a tablecloth.” (PSR: 72). From February, 2016 to

February, 2017, defendant was unemployed and financially supported by his parents. (PSR: 71).

In February, 2017 defendant started working as an Uber driver. (PSR: 70). From March, 2017

through June, 2017 (arrest date), defendant worked as an in-home care nurse for a private

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visiting home-care service in the Bronx. Raishani last earned $75 per hour at that job and visited

approximately 30 cases per week. (PSR: 69). Defendant most recently filed his U.S. tax return

in 2017. (PSR: 77).

E. Adjustment to Pretrial Incarceration

       Defendant has been incarcerated since his arrest in June, 2017. In that almost two year

period, Raishani has made good use of his time by taking and successfully completing many New

York State Education Department accredited courses. A list of his achievements at MCC

includes the following:

               Completed:              FDIC Money Smart Skill
                                       Focus Forward
                                       Lead by Example
                                       Step By Step
                                       Drama
                                       Resume Writing
                                       Interview Skills
                                       Non-Residential Drug Abuse Program
               Instructor Aide:        Entrepreneurship
                                       Business Acumen
               Instructor:             Poetry Workshop
                                       Time Management
                                       Leadership & Influence
                                       Conflict Resolution

As part of an effort to assist his fellow inmates, Raishani also took a course in Inmate

Companion Training and was awarded a Certificate of Achievement in Suicide Prevention.

       On March 31, 2018, defendant was presented with a Certificate of Achievement from the

MCC New York Education Department for “your dedication and contributions as an English and

Spanish GED Tutor ...from November 2017 to March 2018. On September 26, 2018, Raishani

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was awarded another Certificate of Appreciation for his overall “dedication and contributions

to the MCC New York Education Department in 2018.” And, on February 21, 2019, Mr.

Raishani was awarded a Certificate of Appreciation for his contributions as an English and

Spanish GED Tutor, and as an Instructor Aide in two courses and Instructor in four other

courses. Copies of the Certificates of Appreciation are appended hereto as Exhibit A.

F. Sentencing Letters

       Appended hereto as Exhibit B are letters (B1 - B23) are letters from relatives, friends,

program directors and fellow inmates of defendant. The first letter (B1 - B4), from Mr. Raishani,

reveals a highly motivated, highly disciplined young man who was well on the road to great

success before going very badly off the rails. He does not in any way try to excuse his conduct.

               I apologize for betraying this country. This country gave me many opportunities
               that I would never have received in my birth land. (....) I am also sincerely
               sorry for the pain that I have brought to my family, friends and loved ones.

Exhibit B1. Defendant’s father (Exhibit B5) and wife (Exhibit B6 - B7) describe a person who

was always kind and always helpful. They were and are shocked by the choices that he made

because it was so out of character with the person that he is.

       Of particular interest is the letter (Exhibit B9) from Kenneth Ocasio, RN, who was a

classmate and became a friend of Raishani in nursing school. Mr. Ocasio writes:

               Adam was the smartest student in the class and we became friends during
               countless late-night study session[s] in the library. The Adam that I came to
               know not only was smart and hardworking he was a gentle soul who was
               accepting of me as a person and of my Christian religion.
               I would like your Honor to know that Adam was a supportive friend to his
               classmates. He would unselfishly share [h]is time and knowledge to help us

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               get through our program. He always had encouraging words and positive support
               for us all. I also got the opportunity to see him interact and care for his
               patients and once again I saw a caring and gentle soul.

               While I acknowledge the mistake that Adam made[,] I believe he deserves a
               second chance to prove he could learn from his mistake and become a father
               and a positive role model to [his] son.

Exhibit B9.

       The letters from Mikayla Carignan, Class Facilitator for The Focus Forward Project

(B17), and Antonio Hendrickson (B18), attest to the qualities that defendant brought to the

programs that he so eagerly participated in at MCC. Finally, the letters (B19-B23) from his

fellow inmates confirm how helpful defendant was in providing tutorial assistance as well as

support and encouragement.

G. The Plea Agreement and Offense Conduct

        Adam Raishani pleaded guilty on November 14, 2018 to both counts of a superseding

information (S2) charging him with attempting to provide material support to a foreign terrorist

organization (18 U.S.C. § 2339B), and conspiring to provide material support to a foreign

terrorist organization (18 U.S.C. § 371). During his plea allocution, defendant admitted

attempting to travel to the Middle East to join ISIS and use his medical skills to “help ‘anyone

who needed his services.’” (PSR: 23). Raishani also admitted helping another individual

(“CC-1") travel to the Middle East in 2015 for the purpose of joining ISIS. (PSR: 22).

       Defendant’s plea was pursuant to an agreement with the government dated November

12, 2018 (“Agreement”). In that Agreement, the parties stipulated that the applicable Guidelines

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offense level (with various upward adjustments) was 37, that defendant’s Criminal History

Category was VI (by operation of statute - defendant has no prior criminal record), and that the

Stipulated Guidelines Range was 360 months to life imprisonment. (PSR: 5). Probation agreed

with the parties’ Guidelines calculations. (PSR: 81).



                                   ARGUMENT

                PURSUANT TO SECTION 3553(a), THE COURT
                SHOULD IMPOSE A SENTENCE OF NO MORE
                THAN FIVE YEARS IMPRISONMENT


A. The Applicable Legal Principles

       In United States v. Booker, 543 U.S. 220 (2005) the Supreme Court rendered the

Sentencing Guidelines “effectively advisory”. Booker, 543 U.S. at 245. Post-Booker, as the

Second Circuit observed, [i]t is now ... emphatically clear that the Guidelines are guidelines –

that is, they are truly advisory.” Cavera, 550 F.3d at189.

       As a procedural matter, district courts “must treat the Guidelines as the starting point and

the initial benchmark” in calculating a sentence. Kimbrough v. United States, 552 U.S. 85, 108

(2007) (quoting Gall v. United States, 552 U.S. 38, 49 (2007)). However, sentencing courts may

not presume that a Guidelines sentence is reasonable. See Nelson v. United States, 129 S.Ct. 890,

891-92 (2009) (“The Guidelines are not only not mandatory on sentencing courts; they are also

not to be presumed reasonable” [emphasis in original]); see also Cavera, 550 F.3d at 189

(“district court may not presume that a Guidelines sentence is reasonable”). Additionally, the

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Guidelines may not be assigned any presumptive weight over the other factors set forth in

§ 3553(a). United States v. Verkhoglyad, 516 F.3d 122, 131 (2d Cir. 2008).

       Gall, Kimbrough and Nelson have effectively restored the district courts’ broad

sentencing discretion by permitting them to impose a sentence after considering all the § 3553(a)

factors, with the Guidelines being only one such consideration. United States v. Jones, 531 F.3d

163, 173-74 (2d Cir. 2008). Adhering to Booker and Jones, section 3553(a) requires this Court

to “impose a sentence sufficient, but not greater than necessary, to comply with the purposes set

forth in” § 3553(a)(2). 18 U.S.C. §3553(a). Section 3553(a)(2), in turn, requires this Court to

consider the need for the sentence imposed:

               (A) to reflect the seriousness of the offense, to promote respect for the law,
               and to provide just punishment for the offense;

               (B) to afford adequate deterrence to criminal conduct;

               (C) to protect the public from further crimes of the defendant; and

               (D) to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective manner;

18 U.S.C. § 3553(a)(2).

       Additionally, section 3553(a) obligates this Court to consider: “the nature and

circumstances of the offense, and the history and characteristics of the defendant;” “the kinds of

sentences available;” “the kinds of sentence and the sentencing range established for ... the

applicable category of offense committed by the applicable category of defendant as set forth in

the guidelines ... issued by the Sentencing Commission;” “the need to avoid unwarranted

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sentence disparities among defendants with similar records who have been found guilty of

similar conduct;” and “the need to provide restitution to any victims of the offense.” Id.

§ 3553(a)(1), (a)(3) - (a)(7).

        As explained below, applying the foregoing legal principles to the facts of this case

confirms that the Court should impose a sentence of no more than 60 months imprisonment on

defendant Adam Raishaini.

B. Considering the Lack of Any Actual Harm,
  Raishani’s Unblemished Record and Strong
  Employment History, and the Unlikelihood
  Of Recidivism, a Five Year Sentence is Sufficient
  But Not Greater Than Necessary

        Mindful that a Guidelines sentence may not be presumed to be reasonable (Cavera,

550 F.3d at 189), if you consider the traditional § 3553(a) factors, it is clear that a five year

sentence of imprisonment for Adam Raishani is sufficient but not greater than necessary.

                1) Reflect Seriousness of Offense, Promote
                   Respect for Law, and Provide Just Punishment

        No one disputes the seriousness of the crimes that defendant pleaded guilty to. On the

other hand, a five year prison sentence for a young man who has never been arrested before is

equally serious and is, indeed, a “just punishment”. Mr. Raishani was fortunate that law

enforcement interrupted the crime before it was fully committed, but the lack of actual harm is

a factor that this Court should consider.

                2) Adequate Deterrence to Criminal Conduct

        A sixty month prison sentence, followed by a period of supervised release, is clearly not

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a “slap-on-the-wrist”. It sends a clear message to those who might look favorably on foreign

terrorist organizations, that they support them at their peril.

                3) Protect the Public From Further Crimes of Defendant

        All signs point to the conclusion that Mr. Raishani is unlikely to re-appear before this or

any other Court. His educational background and strong employment history, his loving and

supportive family, not to mention his extraordinary rehabilitative efforts while in pretrial

detention, are all factors suggesting that the public needs little protection from defendant upon

his release from prison.

                4) Provide Defendant with Educational & Vocational Training

        Mr. Raishani has already demonstrated a willingness and desire to supplement his college

degree and nursing background while incarcerated.

                5) History & Characteristics of Defendant

        This case represents Mr. Raishani’s first encounter with the criminal justice system. His

characteristics are evident from his achievements and the testimonials from his classmates to his

fellow inmates. He is bright, exceedingly hard working, religious, serious, disciplined, and kind

to family, friends and even strangers. His criminal conduct in this case could not have been more

of an aberration.

                6) The Guidelines Sentencing Range

        Defendant stipulated to the Guidelines Range of 360 months to life imprisonment

(capped by the statutory maximum of 300 months). Such a high Guidelines range is the result

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of U.S.S.G. § 3A1.4 which, in a classic example of double-counting, turned defendant’s Criminal

History Category (“CHC”) I into a CHC VI. That section also unilaterally added 12 levels to the

base offense level of 26 (plus 2 for § 2M5.3(b)(1)(E)). Without those adjustments, Raishani’s

Guidelines would have been 57-71 months. While the double-counting has been approved by the

Second Circuit (United States v. Meskini, 319 F.3d 88 (2d Cir. 2003)), the reasons for that

approval (likelihood of recidivism, difficulty of rehabilitation, need for incapacitation) are

uniquely not present in this case.

               7. Need to Avoid Unwarranted Sentencing Disparities

       Two cases from the Southern District of New York and one case from the Northern

District of California show that anything more than a five year sentence for Mr. Raishani would

be an unwarranted sentencing disparity.

       In United States v. Oumar Issa, Harouna Toure, and Idriss Abdelraham, 09 Cr. 1244

(BSJ), the three defendants pleaded guilty (Toure and Abdelraham each pleaded guilty on the

first day of trial) before then District Judge Barbara S. Jones to Conspiracy to Provide Material

Support to a Foreign Terrorist Organization (Al Qaeda & FARC) (18 U.S.C. § 2339B). At the

time of these pleas (in 2012) the statutory maximum sentence for § 2339B was 15 years or 180

months. The Guidelines range for each of the three defendants was 292 to 365 months. The

government recommended (ECF Nos. 102, 134) the statutory maximum of 180 months for each

defendant. Judge Jones sentenced Issa to 57 months, Toure to 63 months and Abdelraham to 46

months imprisonment.

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       In United States v. Javed Igbal and Saleh Elahwal, 06 Cr. 1054 (RMB), the defendants

pleaded guilty to Providing Material Support to a Foreign Terrorist Organization (Hezbollah).

The Guidelines for Igbal were 63-78 months, with no 12-level terrorism enhancement nor any

automatic CHC VI. Elahwal received a downward adjustment for minor role in the offense, so

his Guidelines were 41-51 months (again, no terrorism enhancement nor CHC VI). The

government recommended (ECF Nos. 107, 122) Guidelines sentences for both. Judge Berman

sentenced Igbal to 69 months imprisonment and Elahwal to 17 months imprisonment.

       Finally, the facts of United States v. Islam Said Natsheh, 16 Cr. 166 (RS) (N.D. Cal.) are

virtually identical to the facts in this case. There, the defendant was a young man with no prior

criminal record who was also a United States citizen. He had become radicalized and over a

period of months engaged in discussions about joining ISIL. When he acted on those

conversations, he was arrested at the airport and charged with Attempting to Provide Material

Support to a Foreign Terrorist Organization; the same charge Mr. Raishani pleaded to. By 2016,

the statutory maximum for that charge had been increased to 20 years. At the sentence

proceeding (ECF No. 26) on July 24, 2017, the district judge found the Guidelines to be Offense

Level 37 (with the terrorism enhancement), CHC VI (with terrorism adjustment), yielding a

Guidelines range of 360 months to life (capped at 240 months by the statutory maximum). (ECF

No. 26, Tr. 3). The government recommended a 15 year sentence and the defense a four year

sentence. (Id. Tr. 4). The court explained the rationale for its sentence:

               And we won’t really ever know what might have transpired, but we certainly
               could have faced the prospect in particular because of his citizenship and he

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              could have come back to the United States at some point, at a point where that
              could have been dangerous.
              (.... )
                 [But] there wasn't any training. There weren't any weapons involved. There
              wasn't any providing fmancial assistance. There doesn't appear to have been any
              direct effort to recruit others. The conduct really was restricted to starting the
              process of joining up with a terrorist organization.
                 The terrorist enhancement and the statutory maximum are intended for very
              different cases than we have here. ( .... ) So I think it is a significant sentence to
              impose a 60-month sentence. That's a long time. [And] defendant shall be placed
              on supervised release for a period of six years.

ECF No. 26, Tr. 31, 32, 33.

       The cases cited above demonstrate that a sentence of approximately five years for Adam

Raishani would be fair and just. The Court should impose it.



                                  CONCLUSION

       For the reasons set forth above, this Court should impose a sentence of no more than 60

months' imprisonment.

Dated: New York, New York
       March 18,2019




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To: All Counsel (by ECF)


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             APPENDIX
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             EXHIBIT A
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                                                      MCCNEWYORK
                                                        EDUCATION DEPARTMENT

                                                   Presents this Certificate of Appreciation to:


                                                      ADAM RAISHANI

                                                         For your dedicatiol:i and contributions


              •                                         as an Englisband Spanish GED Tutor
                                               for the MCCNew York Education Department

                                                         From November 2017 to March 2018.




                                                                                  ~.2018.



                                                                             Education Specialist
                                                                            Literacy Coordinator
                                                                    Chi¢f GED Test Administrator
                                                                                 MCCNew¥ork




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                                                                            MCCNEWYORK
                                                                              EDUCATION DEPARTMENT


                                                                         Presents this.Certificate of Appreciation to:


                                                                            ADAM RAISHANI


     , •                                                                     For your dedication and contributions
                                                               to the MCC New York Education Department in 2018.




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                                                                                                      MCC New York




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                                                          MCC NEW YORK:
                                                                   EDUCATION DEPARTMENT



                                                         Presents this Certificate of Appreciation to:



                                                    ADAM RAISHANI

                                                               For your dedication and contributions
                                                              as an English and Spanish GED Tutor;
                                                      Adult Continuing Education Instructor Aide in
                                              in Entrepreneurship and Business Acumen; and, as an
                                       Adult Continuing Education Instructor in Time Management,
                                          Poetr)', Leadership and Influence, and Conflict Resolution
                                                     for the MCC New York Education Department.




                                                            ._ .~",e~_~~:.2_1_~~9             LRJohnson
                                                                                      Education Specialist
                                                                  Literacy Coordinator/Test .\dministratoI
                                                                                         MCC New York




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              EXHIBITB
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         The Honorable Ronnie Abrams
         United States District Judge
         United States Courthouse
         40 Foley Squara, Room 2203
         New York, New York 10007


         Re: United States v. Adam Raishani
         SI 17 Cr. 421 (RA)


         Dear Judge Abrams:


         I could not ask for a better son. I cry everyday over the fate of my son Adam and still cannot
         believe what has happened and pray that god will have mercy on son Adam . Out of all of my
         five children Adam was the one who would go out of his way for me and family whether he
         would do something as simple as take out the trash or help with a family. I would never worry
         that something would get done that I needed or another family member needed. When I asked
         Adam to help me. Adam was the one child that would go out of his way to help out of all my five
         children. Adam took care of our family. He would pay all the bills and utilities and I would never
         have to worry paying late. I cry every day and am so sad that this is the fate for my son who was
         so full of life and such a beautiful person . Even incarcerated in Federal Prison. Adam still has
         not lost his values and is so worried how his actions have impacted the family and there life,
         Losing my son to his actions has taken a toll on my health. My other four siblings don't care as
         much as Adam and do not help as much as Adam. Not only did Adam help with the bills, Adam
         would drive us around and take us ouI. There is a void I cannot fill with my other four children. I
         ask that when the sentence is imposed that all of this is taken into consideration and the lightest
         sentence is imposed. I am not making excuses for the actions of my son, I am asking that a
         sentence is imposed where he will still have some life with his family because of who he really Is
         and the excellent values that he instilled upon his family, friends and strangers. When this
         happened I lost my mind and still to this day. We are honest people and our religion that we
         believe in so much teaches us goodness and peace.


         Sincerely,       17..            /
            (~7)(, ~~ -1-1 .
         Mohammed Raishanl




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     The Honorable Ronnie Abrams
     United States District Judge
     United States Courthouse
     40 Foley Square, Room 2203
     New York, New York 10007

     Re: United States v. Adam Raishani
     SI17 Cr. 421 (RAJ



     Dear Judge Abrams:



     I would like to tell you my story and the true character of my husband Adam. I came from the
     Yemen. Adam and I met and married because we really loved each other. Adam taught me to
     raise my Standards of living. My husband taught me that there was a better way of life than I
     was living. My husband Adam has such a beautiful heart and has a beautiful son and is such a
     good family man.


     Since this has happened I break down all the time. My husband and I have been married for
     41/2 years. In the early part of our marriage Adam would worry because he would not be able
     to be the husband that I needed because he was in school and would tell me to be patient and
     that he would make it up to me. Of course I understood and told him not to worry because I
     loved him and believed in him. After school my husband got a job at Montlfore Hospitai. Adam
     was so happy working as a nurse and doing what he loved. No matter how hard he worked he
     would always take time out of his day to call me and tell me how much he loved me and that he
     could not walt to he came home to be with me and our baby. As Adam and our love grew he
     taught me to believe In myself and to be the best person I can be and to never give up on
     myself. Adam and I had a dream to own our own home and to raise many children. Adam is the
     best thing that ever happened to me. Before the delivery of our son he told his job he needed
     time off to be with me every step of the way and through the delivery. After the birth of our son




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         Adam and I got a lot doser because he loved being a father as much as he loved being a
         husband.


         Before everything happened my husband told me he felt he could not make me happy and IIlat
         he was under so much stress.1 told him I would be there for him no matter what and to open up
         to me about what was wrong. He cried and could not tell me. When the police told me he left
         and everything happened I fainted and could not believe It. II hurts everyday and I feel like I lost
         a pert of myself since this has happened. Although I have the support of my famify to help me
         through this and raise my son It is now so dlflicult. I talk to Adam every night from prison and
         pray that the outcome will be for him to come home to his family as soon as possible. He is
         very humble for his actions and when I visit him In prison he just hugged me and cried how
         sorry he Is for his actions and that he failed as a husband to me and 8 father to his son. My
         husband asks for forgiveness everyday and prays that the court wifl forgive him and Impose the
         lightest sentence possible. I tell my husband to be strong and god will show US that somehow
         we will get through this. I would like the judge to take into consideration IIlat my husband would
         never harm anyone. He is very remorseful for his actions. Everyone who knows Adam has
         always looked up to him and Is so broken hearted about what has happened. In the Muslim
         religion we believe in the higher power and pray that the Honorable judge will sea him for who
         he reaUy is and not for the actions of that day.




         Slncerely~/")


           -~PJ




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         The Honorable Ronnie Abrams
         United States District Judge
         Uniled States Courthouse
         40 Foley Square, Room 2203
         New Yorl<, New Yor1< 10007

         Re: Unlled Statas v. Adam Ralshanl
         SI17 Cr. 421 (RA)



         Deer Judge Abrams:



          I cry everyday and my family and I try so hard to be strong for each other and Adams son but It
          is so impossible to believe in life since this has happened. My heart suffers so much since he is
          no longer here and this has happened. I still cannot believe this has happened to him he is the
          most kind and loving son. It Is so herd for me to put inlo words how much I am hurting everyday
          as his mother and how hard it is everyday for my family. I ask god everyday to help with this
          situation and for the Presiding Honorable Judge Ronnie Abrahams to have mercy on my son
          and his sentencing . I am not condoning what my son did. I am asking the court to have mercy
         on him and his actions and to Impose the lightest sentence possible. I am an elderly woman and
         do not want to die with my family situation the way It Is now.




         Sincerely,


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               Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 32 of 46



           I            .
       ljhe Honorable Ronnie Abrams
       United States District Judge
        ,
       United States Courthouse .
       ~ Foley Square, Room 2203
       i ew York, New York 10007

       Re: United States v. Adam Raishani
           I
           S117 Cr. 421 (RA)
           I
           I
        , . Judge Abrams:
       lj)ear
        i  ,
       rt,y name is Kenneth Ocasio, I am a registered nurse who met Adam Raishani in nursing schooL Adam
        I
       was the smartest student in the class and we became friends during countless late-night study session in
       the library. The Adam that I came to know not only was smart and hardworking he was a gentle soul
       t hO was accepting of me as a person and of my Christian religion.

       I!would like your Honor to know that Adam was a supportive friend to his classmates. He would
       ~nselfishly share is time and knowledge to help us get through our program. He always had encouraging
       "\'ords and positive support for us all. I also got the opportunity to see him interact and care for his
        (
       patients and once again I saw a caring and gentle soul.
           i
       't'hile I acknowledge the mistake that Adam made. I believe he deserves a second chance to prove he
       .!:ould learn from his mistake and become a father and a positive role model to son.


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       ~enneth Ocasio, RN




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            Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 33 of 46




           The Honorable Ronnie Abrams
          United StaleS District Judge
          United Stales Courthouse
          40 Foley Square, Room 2203
          New York, New York 10007

          Re: Unned 5taleS v. Adam Raishanl
          51 17 Cr. 421 (RA)



          Dear Judge Abrams:


          I have known Adam since I was seven years old. I have known him altogether for twenty
          years. Adam and I first became close when I came to this country. To this day I am still
          shocked stage this has happened and would never believe Adam would do something
          like this. Since Adam has been incarcerated my heart has felt broken everyday. Helping
          other's is something Adam loved to do. He is such a generous and giving person. Adam
          is very educated and has always had such excellent conduct People still ask me about
          him and how he is doing and state to me what a really good person he was and cannot
          believe that this has happened to him. Adam always saw the good in everybody and
          was always positive . I know that Adam comes from a loving family, Your honorable
          judge I have watched Adam's family be tom apart by this. I try so much to be there for
          his son who Is being raised without his father. Adam was such a loving father to his son
          as well as his family, friends and strangers. I have in visited jail Adam and he is so
          remorseful for his actions and deep down inside he is truly repentant over what he has
          done Since it happened Adam tries to maintain his strength for his family and friends .




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                    Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 34 of 46




          The Honorabl. Ronnie Abrams
          United States District Judge
          United States Courthouse
          40 Foley Square, Room 2203
           New YOri<, New Yorl< 10007


           Re: United States v. Adam Ralshani
          51 17 Cr. 421 (RA)



          Deer Judge Abrams:



      My name ;s Mdrahmanand I am old man and Neighbor of Adam Raishan I have known Adam
      for len years. In those ten years I have only known Adam to help me and help others and have
      very good conduct. One time my battery died and my car did not work. Adam not only took the
     time to get a battery to help with my car to fix it, Adam let me keep the battery to save me
     money because I did not have the money at the time to purchase the battery. Another time I got
     locked out of my home and Adam purchased tools so I could get back into my home and fixed
     the lock and door. Adam was the only person to help me. Nobody in my family helped me. I
      would see Adam every morning and say good moming to him with a smile on my face. I feel
      very sad and uncomfortable with what has happened and that I am no no longer able to see him
      and how hard It is on his family since he is not around. Adam loves Animals and would help an
      animal who was sick and treatlhe ani mel with love the same way he would treat people. Adam
      would never hurt an animal and would never hurt a human being. Since this has happened I feel
      like I have lost a son. Adam is such a good person has such good conduct. I still cannot believe
      that this happened to him and hope you will Impose your sentence that is fair and still allow him
       a life with his family and close friends.



       Sincerely,
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          Mdrahn'ill"




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                Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 35 of 46




           The Honorable Ronnie Abrams
           United states OIsbict Judge
           United Slates Courthouse
           40 Foley Square. Room 2203
           New York. New York 10007


           Re: United States v. Adam Raishani
           81 17 Cr. 421 (RA)

          Dear Judge Abrams:

           My name is Raddwan Alsaidll was raised by my uncle Adam Alrashanl who stands before you
          today. Adam raised me and taught me good character. Adam taught me to be the best person I
          could be and to not be a follower and to be a leader. He taught me to be responsible and
          taught me English and to make good chOices and if i made a mistake to make it right with
          sincerity and from the heart. My uncle Adam took the time to instill values in me as a young
          child that If he had not taken the time to raise me and instill these values I would not be the
          person I am today.

          The defendant Adam made sure that I went to school and learned how to read and speak
          English so I would be able to bulld a vary good life for myself in this country .My uncle Adam
          reised me to be very good to myself and others and to treat people with respect, My uncle
          Iaught me to treat people as If I wanted to be treated and to never lower yourself to another
          indivlduahl bad behavior or values . Adam taught me to eat healthy. My uncle Adam Is the kind
          of person that would Want the best for a penIOO he loved or a complete stranger before he
          would want tha best for himself.

          One example that stays with me of Adam helping a complete stranger was a day when we
          were drivlng and Adam noticed that there wes a harmful object middle of the road. Instead of
          my uncle Adam Just contlnuing on or laking another route Adam made a u - tum and removed
          the harmful object out of the way to avoId an Innocent person from being Involved In an
          accident .




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                 Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 36 of 46




      Adam is part of the Muslim religion. This religion believes in peace not war and to treat people
      with respect and goodness. These values were instilled in me by Adam with sincerity. and
      never force. I still can not believe thet this have happened to him end hope you will impose a
      sentence that Is fair and stili allow him to live with his family and close friends.
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          Raddwan Alsaidl




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                     Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 37 of 46




      The Honorable Ronnie Abrams
      United States District Judge
      United Stales Courthouse
      40 Foley Square. Room 2203
      New Yorll. New Yorll 10007


      Re : United Stales v. Adam Raishani
      SI 17 Cr. 421 (RA)




      Dear Judge Abrams:




      My name is Ahmed Raishani. Adam raised me and taught me good character. Adam taught me
          to be the best person I could be and to not be a follower and to be a leader. Adam taught me to
          be responsible and laught me English and to make good choices and if I made a mistake to
          make it fight with sIncerity and from the heart. Adam taught me to make a mistake right because
          we are human but to do something because you want to not for selfish reasons. Adam IS my
          mentor to this day. Adams values has not changed while he has been in prison for two years so
          far within the Federal Prison System. Everyone who knows Adam has always looked up to him
          and Is so broken hearted about what has happened. In the Muslim religion we believe in the
          higher power and pray that the Judge will see him for who he really is and not for the actions of
          that day




          Sincerely.
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          Ahmed Raishani




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                                           Bronx Kids Pediatrics
                                           290 I White Plains Rd
                                          BRONX, NY 104678129
                                            Ph: (718) 708 - 4594
                                           Fax: (347) 326 - 7217
        1/30/2019

        To Whom It May Concern,


            Khalid Raishani DOS 1/27/16 is a patient of this practice, When he was an
            infant he was brought to every appointment by his mother and father together,
            Both parents are very responsible and deeply care about their child.


            Please call me if you have any questions .

        ..sinc~.



            Dr. Jo'   Samuel


                                                                                        Cr. Joice Sa~ue l
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 The Honorable    1:17-cr-00421-RA
               Ronnie   Abrams Document 57 Filed 03/18/19 Page 39 of 46
 United States District Judge
 United States Courthouse
 40 Foley Square. Room 2203
 New York, New York 10007

 Re: United States v. Adam Raishani
 SI17 Cr. 421 (RA)



 Dear Judge Abrams:

 My name is Aftekahr A1saidi and I am mother of three beautiful kids. Adam Raishani lives on the
 same street as me and I have knowp Adam for 15 years. In all 15 years that I have known
 Adam he Sincerely help people anyway that he could because that is who he is and his true
 nature. In 2012 there was a house fire snd the home that belonged to me and my family was
 destroyed. Adam was in school at that time to be a nurse. Adam not only let our whole family
 live with him after the fire; he helped us get a new home that we loved just as much and could
 make ours. Adam did that because he wanted to, not because he felt obligated to do so. My son
 was hit by a car four years ago after the house fire, and after my son was hit by the car, he
 helped me emotionally every day out of the goodness of his hesrt. As well as with his
 knowledge of being a nurse.




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          /~f
Aftekahr Alsaldi




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        Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 40 of 46




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                    Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 41 of 46




                 198 E 161 st St, Bronx, NY 10451, leadbyexarnDle12@grnail,corn, {732} 430-9020



           March 29, 2018

           To Whom It May Concern,

           My name is Antonio Hendrickson, Founder of Lead by Example & Reverse the Trend Inc. , (LBE &
           RTT Inc.), Self Imlif"Ovement Violence Prevention Mentoring Program. We are a Non for Profit ceo
           service provider for at risk youth, teens and young adults. LBE & RTT Inc., is a self improvement
           program in which our goal is to strategicaUy address our community needs by implementing a direct
           hands on approach to a wide variety of communal concems and issues. The program deals with the
           individual, morality, and values which helps attack the heart of problems.

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           Center and works with LBE & RTT Inc., as a Co-FaciUtator. We are willing to receive him into our
           organization to help educate and inform the participants In our program. Through redirection and
           empowerment, enhancing communication and social skiDs, Mr. Raisani will assist and help people
           become posHlve, assertive adults who have a strong sense of self-awareness and their true potential.
           For more information please view our websHe @ http:/twwwleadbyexamplereversethetrend.org/

           LBE & RTT Inc., believes that Mr. Raishani will be very instrumental wHh the progress of the program
           and willingly assist where he's needed. He Is dedicated, paSSionate, a leader and a determined
           individual. It wi. be an absolute pleasure to work with him as a volunteer with our team.

           Please feel free to contact me @ {732} 430-9020 or leadbyexample12@gmail.com.

           Respectfully,
           AntonIo fi"endrtchon
           Antonio Hendrickson
           LBE & RTT Inc.
           Founder & CEO
           leadbyexample12@gmall.com




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             Case 1:17-cr-00421-RA Document 57 Filed 03/18/19 Page 42 of 46

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